     Case 2:21-cv-06765-SVW-DFM Document 1 Filed 08/20/21 Page 1 of 12 Page ID #:1




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 5
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 6    JONG JA KIM
 7
 8                               UNITED STATES DISTRICT COURT
 9                              CENTRAL DISTRICT OF CALIFORNIA
10
      JONG JA KIM,                               Case No.:
11
                   Plaintiff,                    COMPLAINT FOR INJUNCTIVE
12                                               RELIEF AND DAMAGES FOR
            vs.                                  VIOLATION OF:
13
                                                 1. AMERICANS WITH DISABILITIES
14    DEBBI LABREA PROPERTIES, LLC;              ACT, 42 U.S.C. §12131 et seq.;
15    DOES 1 to 10,                              2. CALIFORNIA’S UNRUH CIVIL
                   Defendants.                   RIGHTS ACT, CAL CIV. CODE §§ 51 -
16                                               52 et seq.;
17                                               3. CALIFORNIA’S DISABLED
                                                 PERSONS ACT, CAL CIV. CODE §54 et
18                                               seq.
19                                               4. CALIFORNIA’S UNFAIR
                                                 COMPETITION ACT, CAL BUS & PROF
20                                               CODE § 17200, et seq.
21                                               5. NEGLIGENCE
22
23
24
25          Plaintiff JONG JA KIM (“Plaintiff”) complains of Defendants DEBBI LABREA
26    PROPERTIES, LLC; DOES 1 to 10 (“Defendants”) and alleges as follows:
27    //
28    //



                                    COMPLAINT FOR DAMAGES - 1
     Case 2:21-cv-06765-SVW-DFM Document 1 Filed 08/20/21 Page 2 of 12 Page ID #:2




 1                                  JURISDICTION AND VENUE
 2          1.      The Court has jurisdiction of this action pursuant to 28 USC §1331 for
 3    violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et seq.)
 4          2.      Pursuant to pendant jurisdiction, attendant and related causes of action,
 5    arising from the same nucleus of operating facts, are also brought under California law,
 6    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 7    54, 54., 54.3 and 55.
 8          3.      Venue is proper in this court pursuant to 28 USC §1391(b). The real
 9    property which is the subject of this action is located in this district, Los Angeles County,
10    California.
11                                              PARTIES
12          4.      Plaintiff is a California resident with a physical disability. Plaintiff is
13    substantially limited in her ability to walk due to partial paralysis. Plaintiff requires the
14    use of a wheelchair at all times when traveling in public.
15          5.      Defendants are, or were at the time of the incident, the real property owners,
16    business operators, lessors and/or lessees of the real property for a restaurant
17    (“Business”) located at or about 1253 N. La Brea Ave., West Hollywood, California.
18          6.      The true names and capacities, whether individual, corporate, associate or
19    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
20    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
21    Court to amend this Complaint when the true names and capacities have been
22    ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
23    fictitiously named Defendants are responsible in some manner, and therefore, liable to
24    Plaintiff for the acts herein alleged.
25          7.      Plaintiff is informed and believes, and thereon alleges that, at all relevant
26    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
27    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
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                                     COMPLAINT FOR DAMAGES - 2
     Case 2:21-cv-06765-SVW-DFM Document 1 Filed 08/20/21 Page 3 of 12 Page ID #:3




 1    the things alleged herein was acting with the knowledge and consent of the other
 2    Defendants and within the course and scope of such agency or employment relationship.
 3          8.     Whenever and wherever reference is made in this Complaint to any act or
 4    failure to act by a defendant or Defendants, such allegations and references shall also be
 5    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
 6    and severally.
 7                                  FACTUAL ALLEGATIONS
 8          9.     In or about June of 2021, Plaintiff went to the Business. In or about July of
 9    2021, Plaintiff revisited the Business. The Business is a restaurant business
10    establishment, which is open to the public, and is a place of public accommodation and
11    affects commerce through its operation. Defendants provide parking spaces for
12    customers.
13          10.    While attempting to enter the Business during each visit, Plaintiff personally
14    encountered a number of barriers that interfered with her ability to use and enjoy the
15    goods, services, privileges, and accommodations offered at the Business. To the extent
16    of Plaintiff’s personal knowledge, the barriers at the Business included, but were not
17    limited to, the following:
18                 a.     Defendants failed to comply with the federal and state standards for
19                        the parking space designated for persons with disabilities. Defendants
20                        failed to post required signage such as “Minimum Fine $250.”
21                 b.     Defendants failed to comply with the federal and state standards for
22                        the parking space designated for persons with disabilities. The posted
23                        required signage was not visible due to the tree branches and leaves
24                        blocking the signs.
25                 c.     Defendant failed to maintain the parking space designated for persons
26                        with disabilities to comply with the federal and state standards.
27                        Defendants failed to provide the access aisles with level surface
28                        slopes.



                                    COMPLAINT FOR DAMAGES - 3
     Case 2:21-cv-06765-SVW-DFM Document 1 Filed 08/20/21 Page 4 of 12 Page ID #:4




 1                 d.     Defendant failed to maintain the parking space designated for persons
 2                        with disabilities to comply with the federal and state standards.
 3                        Defendants failed to maintain the paint on the ground as required.
 4          11.    These barriers and conditions denied Plaintiff the full and equal access to the
 5    Business. Plaintiff wishes to patronize the Business again. However, Plaintiff is deterred
 6    from visiting the Business because her knowledge of these violations prevents her from
 7    returning until the barriers are removed.
 8          12.    Based on the violations, Plaintiff alleges, on information and belief, that
 9    there are additional barriers to accessibility at the Business after further site inspection.
10    Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
11    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
12          13.    In addition, Plaintiff alleges, on information and belief, that Defendants
13    knew that particular barriers render the Business inaccessible, violate state and federal
14    law, and interfere with access for the physically disabled.
15          14.    At all relevant times, Defendants had and still have control and dominion
16    over the conditions at this location and had and still have the financial resources to
17    remove these barriers without much difficulty or expenses to make the Business
18    accessible to the physically disabled in compliance with ADDAG and Title 24
19    regulations. Defendants have not removed such barriers and have not modified the
20    Business to conform to accessibility regulations.
21                                    FIRST CAUSE OF ACTION
22        VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
23          15.    Plaintiff incorporates by reference each of the allegations in all prior
24    paragraphs in this complaint.
25          16.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
26    shall be discriminated against on the basis of disability in the full and equal enjoyment of
27    the goods, services, facilities, privileges, advantages, or accommodations of any place of
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                                      COMPLAINT FOR DAMAGES - 4
     Case 2:21-cv-06765-SVW-DFM Document 1 Filed 08/20/21 Page 5 of 12 Page ID #:5




 1    public accommodation by any person who owns, leases, or leases to, or operates a place
 2    of public accommodation. See 42 U.S.C. § 12182(a).
 3          17.   Discrimination, inter alia, includes:
 4                a.    A failure to make reasonable modification in policies, practices, or
 5                      procedures, when such modifications are necessary to afford such
 6                      goods, services, facilities, privileges, advantages, or accommodations
 7                      to individuals with disabilities, unless the entity can demonstrate that
 8                      making such modifications would fundamentally alter the nature of
 9                      such goods, services, facilities, privileges, advantages, or
10                      accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
11                b.    A failure to take such steps as may be necessary to ensure that no
12                      individual with a disability is excluded, denied services, segregated or
13                      otherwise treated differently than other individuals because of the
14                      absence of auxiliary aids and services, unless the entity can
15                      demonstrate that taking such steps would fundamentally alter the
16                      nature of the good, service, facility, privilege, advantage, or
17                      accommodation being offered or would result in an undue burden. 42
18                      U.S.C. § 12182(b)(2)(A)(iii).
19                c.    A failure to remove architectural barriers, and communication barriers
20                      that are structural in nature, in existing facilities, and transportation
21                      barriers in existing vehicles and rail passenger cars used by an
22                      establishment for transporting individuals (not including barriers that
23                      can only be removed through the retrofitting of vehicles or rail
24                      passenger cars by the installation of a hydraulic or other lift), where
25                      such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
26                d.    A failure to make alterations in such a manner that, to the maximum
27                      extent feasible, the altered portions of the facility are readily
28                      accessible to and usable by individuals with disabilities, including



                                   COMPLAINT FOR DAMAGES - 5
     Case 2:21-cv-06765-SVW-DFM Document 1 Filed 08/20/21 Page 6 of 12 Page ID #:6




 1                        individuals who use wheelchairs or to ensure that, to the maximum
 2                        extent feasible, the path of travel to the altered area and the
 3                        bathrooms, telephones, and drinking fountains serving the altered
 4                        area, are readily accessible to and usable by individuals with
 5                        disabilities where such alterations to the path or travel or the
 6                        bathrooms, telephones, and drinking fountains serving the altered
 7                        area are not disproportionate to the overall alterations in terms of cost
 8                        and scope. 42 U.S.C. § 12183(a)(2).
 9          18.    Where parking spaces are provided, accessible parking spaces shall be
10    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
11    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
12    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
13    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
14    be van parking space. 2010 ADA Standards § 208.2.4.
15          19.    Under the ADA, the method and color of marking are to be addressed by
16    State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
17    Building Code (“CBC”), the parking space identification signs shall include the
18    International Symbol of Accessibility. Parking identification signs shall be reflectorized
19    with a minimum area of 70 square inches. Additional language or an additional sign
20    below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
21    parking space identification sign shall be permanently posted immediately adjacent and
22    visible from each parking space, shall be located with its centerline a maximum of 12
23    inches from the centerline of the parking space and may be posted on a wall at the
24    interior end of the parking space. See CBC § 11B-502.6, et seq.
25          20.    Moreover, an additional sign shall be posted either in a conspicuous place at
26    each entrance to an off-street parking facility or immediately adjacent to on-site
27    accessible parking and visible from each parking space. The additional sign shall not be
28    less than 17 inches wide by 22 inches high. The additional sign shall clearly state in



                                    COMPLAINT FOR DAMAGES - 6
     Case 2:21-cv-06765-SVW-DFM Document 1 Filed 08/20/21 Page 7 of 12 Page ID #:7




 1    letters with a minimum height of 1 inch the following: “Unauthorized vehicles parked in
 2    designated accessible spaces not displaying distinguishing placards or special license
 3    plates issued for persons with disabilities will be towed always at the owner’s expense…”
 4    See CBC § 11B-502.8, et seq.
 5          21.    Here, Defendants failed to provide signs stating “Minimum Fine $250.”
 6    Moreover, the posted required signage was not visible due to the tree branches and leaves
 7    blocking the signs.
 8          22.    Under the 1991 Standards, parking spaces and access aisles must be level
 9    with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
10    Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
11    shall be part of an accessible route to the building or facility entrance and shall comply
12    with 4.3. Two accessible parking spaces may share a common access aisle. Parked
13    vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
14    and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
15    directions. 1991 Standards § 4.6.3.
16          23.    Here, the access aisles are not level with the parking spaces. Under the 2010
17    Standards, access aisles shall be at the same level as the parking spaces they serve.
18    Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
19    to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
20    2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
21          24.    For the parking spaces, access aisles shall be marked with a blue painted
22    borderline around their perimeter. The area within the blue borderlines shall be marked
23    with hatched lines a maximum of 36 inches (914 mm) on center in a color contrasting
24    with that of the aisle surface, preferably blue or white. The words "NO PARKING" shall
25    be painted on the surface within each access aisle in white letters a minimum of 12 inches
26    (305 mm) in height and located to be visible from the adjacent vehicular way. CBC §
27    11B-502.3.3.
28




                                    COMPLAINT FOR DAMAGES - 7
     Case 2:21-cv-06765-SVW-DFM Document 1 Filed 08/20/21 Page 8 of 12 Page ID #:8




 1          25.    Here, Defendants failed to properly maintain the access aisles as there were
 2    faded “NO PARKING” and faded blue lines painted on the parking surface.
 3          26.    A public accommodation shall maintain in operable working condition those
 4    features of facilities and equipment that are required to be readily accessible to and usable
 5    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a). By failing to
 6    maintain the facility to be readily accessible and usable by Plaintiff, Defendants are in
 7    violation of Plaintiff’s rights under the ADA and its related regulations.
 8          27.    The Business has denied and continues to deny full and equal access to
 9    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
10    discriminated against due to the lack of accessible facilities, and therefore, seeks
11    injunctive relief to alter facilities to make such facilities readily accessible to and usable
12    by individuals with disabilities.
13                                 SECOND CAUSE OF ACTION
14                    VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
15          28.    Plaintiff incorporates by reference each of the allegations in all prior
16    paragraphs in this complaint.
17          29.    California Civil Code § 51 states, “All persons within the jurisdiction of this
18    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
19    national origin, disability, medical condition, genetic information, marital status, sexual
20    orientation, citizenship, primary language, or immigration status are entitled to the full
21    and equal accommodations, advantages, facilities, privileges, or services in all business
22    establishments of every kind whatsoever.”
23          30.    California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
24    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
25    for each and every offense for the actual damages, and any amount that may be
26    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
27    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
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                                      COMPLAINT FOR DAMAGES - 8
     Case 2:21-cv-06765-SVW-DFM Document 1 Filed 08/20/21 Page 9 of 12 Page ID #:9




 1    attorney’s fees that may be determined by the court in addition thereto, suffered by any
 2    person denied the rights provided in Section 51, 51.5, or 51.6.
 3          31.    California Civil Code § 51(f) specifies, “a violation of the right of any
 4    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 5    shall also constitute a violation of this section.”
 6          32.    The actions and omissions of Defendants alleged herein constitute a denial
 7    of full and equal accommodation, advantages, facilities, privileges, or services by
 8    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 9    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
10    51 and 52.
11          33.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
12    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
13    damages as specified in California Civil Code §55.56(a)-(c).
14                                   THIRD CAUSE OF ACTION
15                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
16          34.    Plaintiff incorporates by reference each of the allegations in all prior
17    paragraphs in this complaint.
18          35.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
19    entitled to full and equal access, as other members of the general public, to
20    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
21    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
22    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
23    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
24    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
25    places of public accommodations, amusement, or resort, and other places in which the
26    general public is invited, subject only to the conditions and limitations established by
27    law, or state or federal regulation, and applicable alike to all persons.
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                                      COMPLAINT FOR DAMAGES - 9
     Case 2:21-cv-06765-SVW-DFM Document 1 Filed 08/20/21 Page 10 of 12 Page ID #:10




 1           36.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 2     corporation who denies or interferes with admittance to or enjoyment of public facilities
 3     as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 4     individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 5     the actual damages, and any amount as may be determined by a jury, or a court sitting
 6     without a jury, up to a maximum of three times the amount of actual damages but in no
 7     case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 8     determined by the court in addition thereto, suffered by any person denied the rights
 9     provided in Section 54, 54.1, and 54.2.
10           37.    California Civil Code § 54(d) specifies, “a violation of the right of an
11     individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
12     constitute a violation of this section, and nothing in this section shall be construed to limit
13     the access of any person in violation of that act.
14           38.    The actions and omissions of Defendants alleged herein constitute a denial
15     of full and equal accommodation, advantages, and facilities by physically disabled
16     persons within the meaning of California Civil Code § 54. Defendants have
17     discriminated against Plaintiff in violation of California Civil Code § 54.
18           39.    The violations of the California Disabled Persons Act caused Plaintiff to
19     experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
20     statutory damages as specified in California Civil Code §55.56(a)-(c).
21                                  FOURTH CAUSE OF ACTION
22                                  UNFAIR COMPETITION ACT
23           40.    Plaintiff incorporates by reference each of the allegations in all prior
24     paragraphs in this complaint.
25           41.    Defendants have engaged in unfair competition, unfair or fraudulent
26     business practices, and unfair, deceptive, untrue or misleading advertising in violation of
27     the Unfair Competition Act. Bus & Prof. Code §§ 17200 et seq.
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                                     COMPLAINT FOR DAMAGES - 10
     Case 2:21-cv-06765-SVW-DFM Document 1 Filed 08/20/21 Page 11 of 12 Page ID #:11




 1            42.    Defendants engage in business practices and policies that create systemic
 2     barriers to full and equal access for people with disability in violation of state and federal
 3     law.
 4            43.    The actions and omissions of Defendants are unfair and injurious to
 5     Plaintiff, a consumer of the Business’ goods and services. As a result of Defendants’
 6     unfair business practice and policies, Plaintiff suffered injury in fact. Plaintiff was not
 7     provided with goods and services provided to other consumers. Plaintiff seeks relief
 8     necessary to prevent Defendants’ continued unfair business practices and policies and
 9     restitution of any month that Defendants acquired by means of such unfair competition,
10     including profits unfairly obtained.
11                                     FIFTH CAUSE OF ACTION
12                                            NEGLIGENCE
13            44.    Plaintiff incorporates by reference each of the allegations in all prior
14     paragraphs in this complaint.
15            45.    Defendants have a general duty and a duty under the ADA, Unruh Civil
16     Rights Act and California Disabled Persons Act to provide safe and accessible facilities
17     to the Plaintiff.
18            46.    Defendants breached their duty of care by violating the provisions of ADA,
19     Unruh Civil Rights Act and California Disabled Persons Act.
20            47.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
21     has suffered damages.
22                                       PRAYER FOR RELIEF
23            WHEREFORE, Plaintiff respectfully prays for relief and judgment against
24     Defendants as follows:
25            1.     For preliminary and permanent injunction directing Defendants to comply
26     with the Americans with Disability Act and the Unruh Civil Rights Act;
27            2.     Award of all appropriate damages, including but not limited to statutory
28     damages, general damages and treble damages in amounts, according to proof;



                                     COMPLAINT FOR DAMAGES - 11
     Case 2:21-cv-06765-SVW-DFM Document 1 Filed 08/20/21 Page 12 of 12 Page ID #:12




 1           3.     Award of all reasonable restitution for Defendants’ unfair competition
 2     practices;
 3           4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 4     action;
 5           5.     Prejudgment interest pursuant to California Civil Code § 3291; and
 6           6.     Such other and further relief as the Court deems just and proper.
 7
 8                                DEMAND FOR TRIAL BY JURY
 9           Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
10     demands a trial by jury on all issues so triable.
11
12     Dated: August 20, 2021           SO. CAL. EQUAL ACCESS GROUP
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14
15                                             By:   _/s/ Jason J. Kim___________
                                                     Jason J. Kim, Esq.
16                                             Attorneys for Plaintiff
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                                     COMPLAINT FOR DAMAGES - 12
